AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                              Middle District
                                             __________       of North
                                                          District     Carolina
                                                                   of __________

)RRG/LRQ//&DQG0DU\ODQGDQG9LUJLQLD
0LON3URGXFHUV&RRSHUDWLYH$VVRFLDWLRQ                        )
                             Plaintiff                         )
                                v.                             )      Case No.     1:20-cv-00442
              Dairy Farmers of America, Inc.,                  )
                            Defendant                          )

                                                APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff - Food Lion, LLC                                                                                   .


Date:          06/02/2020                                                                 s/ Ryan P. Phair
                                                                                         Attorney’s signature


                                                                               Ryan P. Phair, D.C. Bar No.: 479050
      V5\DQ*5LFK1&%DU1R                                           Printed name and bar number
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 2, 2020, I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, and that said document will be served on the defendant via
UPS overnight delivery, addressed as follows:

DAIRY FARMERS OF AMERICA, INC.
c/o Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

                                              s/ Ryan P. Phair
                                                 Ryan P. Phair




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